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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA, :
06-cr-991 (JSR)
Vv.
MEMORANDUM ORDER
JOEL AUSTIN,
Defendant. 2
ee x
JED S&S. RAKOFF, U.S.D.Jd.
The United States Probation Office (“Probation”) has

petitioned this Court to revoke defendant Joel Austin’s term of
supervised release and impose a new term of imprisonment.
Probation alleges that Austin sold narcotics on August 1, 2020 and
possessed narcotics with an intent to sell them on August 7, 2020,
in violation of state law (and, thus, in violation of the terms of
his supervised release).

After Probation filed its petition, and while the Government
was conducting its investigation and preparing for an evidentiary
hearing in this matter, the Government sought to access Probation
records relating to conversations between a probation officer and
Austin. The defense objected that the statements were elicited in
violation of Austin’s Fifth and Sixth Amendment rights. The Court
ordered expedited briefing and then denied the Government’s

application in a bottom-line order, ECF No. 78, on September 30,

 
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2020. This Memorandum confirms that order and explains the reasons
for the ruling.?
BACKGROUND

On August 7, 2020, an officer of the New York City Police
Department (“NYPD”) arrested Austin, alleging that the officer had
previously observed Austin selling narcotics on August 1, 2020.
The officer avers that during a search incident to the arrest, on
August 7, he found 11 vials of cocaine in Austin’s pocket.

Austin asserts, and the Government does not dispute, that he
chose not to speak to police officers following his arrest on
August 7. On August 8, Austin was arraigned in New York County on
a criminal complaint, assigned a public defender, and released on
his own recognizance.

The conditions of Austin’s supervised release previously
imposed by the Court include the standard condition that Austin
“notify the probation officer within seventy-two hours of being
arrested or questioned by a law enforcement officer.” Judgment,

ECF No. 19, at 3, No. 11. To that end, Austin sent a text message

 

1 The bottom-line order was expedited because the Court held an
evidentiary hearing on October 2, 2020 on the alleged violations
of supervised release. The parties are in the process of preparing
written summations, and the Court does not now make any findings
of fact or conclusions of law on the underlying specifications.
The parties are also in the process of briefing Austin’s motion
arguing that he has a constitutional right to a trial by jury and
proof beyond a reasonable doubt on the underlying specifications.
The Court will hear telephonic oral argument on this motion on
October 23, 2020.

 
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notifying Probation of his August 7 arrest on August 9, the day
after he was released from state custody. The probation officer
instructed Austin to call him. See Probation Office, Petition for
Violation of Supervised Release, at 2.

Another standard condition of supervised release is that
Austin must “answer truthfully all inquiries by the probation
officer and follow the instructions of the probation officer,”
Judgment, ECF No. 19, at 3, No. 3. In response to the foregoing
instruction, Austin called the officer and “briefly explained the
circumstances of his arrest.” Id. The probation officer “directed
[Austin] to report to the Probation Office. . . to further discuss
the arrest,” and Austin reported as directed on August 11. Id.
fhe officer “once again inquired about the nature of the arrest,”
id., and Austin answered the officer’s questions. The officer
took notes and prepared reports regarding Austin’s responses.

The Government applied to this Court for an order under the
All Writs Act, 28 U.S.C. § 1651, directing Probation to turn over
these notes and reports for potential use in the Government’s case~
in-chief, or, in the alternative, for use on rebuttal to impeach
any inconsistent statement made by the defendant if he were to
testify. ? The defense objected that Austin’s statements to

Probation were obtained in violation of his Fifth and Sixth

 

2 At the subsequent hearing on the underlying specifications,
however, Austin chose not to testify.

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Amendment rights, thus precipitating the motion practice that led
to this Court’s order of September 30.
LEGAL BACKGROUND

Austin’s objections raise three questions that, as far as the
Court and the parties are aware, have not been addressed in this
Circuit. First, when the probation officer directed Austin to
describe the circumstances of his arrest, even though Austin had
already invoked his right to silence before the NYPD arresting
officers, did the Probation Office’s instructions violate Austin’s
Fifth Amendment right to silence? Second, given that Austin had
already been arraigned in state court and assigned counsel, did
Probation’s interrogation of Austin in the absence of his counsel
violate the Sixth Amendment right to assistance of counsel?
Finally, if the answer to either question is yes, what is the
appropriate remedy? The Court answers each of these questions in
turn.

i. The Fifth Amendment Right Against Self-Incrimination

 

A. Legal Standard
The Fifth Amendment provides that a person may not “be
compelied in any criminal case to be a witness against himself.”
U.S. Const. amend. V. This protection encompasses not only a
defendant’s right to refuse to testify at trial but also a
suspect’s right “not to answer official questions put to him in

any other proceeding, civil or criminal, formal or informal, where

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the answers might incriminate him in future criminal proceedings.”

Minnesota v. Murphy, 465 U.S. 420, 426 (1984) (quoting Lefkowitz

 

v. Turley, 414 U.S. 70, 77 (1973)). But the Fifth Amendment does
not bar all Government interrogation designed to elicit
self-incriminating statements. The Constitution prohibits only
use of statements that are “compelled.”

How does a court determine whether a statement was compelled?
The Supreme Court’s caselaw shows that the answer to this question
depends on the context in which the statement was given. In
general, when the Government questions a suspect, it is incumbent
upon the suspect to invoke his Fifth Amendment right to silence.
This does not require lawyerly precision, “talismanic phrases [, ]

or any special combination of words.” See United States v.

 

Ramirez, 79 F.3d 298, 304 (2d Cir. 1996}. Depending on the
circumstances, simply “refusing to answer questions” may suffice
to invoke one’s right to silence. Id.

The Supreme Court has recognized exceptions to the general
rule that a suspect must invoke his right to silence. In some
situations, a suspect cannot be said to have a genuine choice
regarding whether to respond to governmental queries; under these
circumstances, the onus shifts to the Government. [ft must inform
the defendant of his right to silence and obtain his knowing and

voluntary waiver of that right; otherwise, the privilege against

 
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self-incrimination is said to be self-executing and the use of the
suspect's statements in the prosecution's case-in-chief is barred.

The first example of a situation in which the privilege is
self-executing is custodial interrogation, which imposes
“inherently compelling pressures which work to undermine the
individual's will to resist and to compel him to speak where he

would not otherwise do so freely.” Miranda v. Arizona, 384 U.S.

 

436, 477 (1966). Therefore, as every American with a television
now knows, when a defendant is detained, he must be informed of
his rights to silence and counsel and must knowingly and
voluntarily waive them prior to custodial interrogation.

Another example of a situation in which the privilege is
self-executing is a “penalty” situation, in which the speaker was
pressured to speak because a penalty would have been imposed if

she had asserted the privilege. See Garrity v. New Jersey, 385

 

U.S. 493 (1967) (defendant threatened with loss of employment if

he did not respond); see also United States v. Ramos, 685 F.3d

 

120, 127 (2d Cir. 2012) (“Where the government compels an
individual to speak by threatening him with a substantial penalty
for exercising his Fifth Amendment right to remain silent, the
privilege is self-executing.”).

In Minnesota v. Murphy, 465 U.S. 420 (1984), the Supreme Court

 

was asked to apply these principles to probation. A probationer

had been directed to attend an interview and to respond to a

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probation officer’s questions, and the probationer argued that his
right to silence was self-executing. On the facts of Murphy, the
Court rejected that argument. It reasoned that Murphy was like a
witness “who is required to appear and give testimony” at trial or
in a grand jury. Id. at 437. Like such a witness, Murphy might
have felt pressure not to invoke his right against
self-incrimination, but, like such a witness, it was nonetheless
incumbent upon Murphy to invoke his right to silence.

The Court limited its holding, however, by noting that if the
probation officer had led Murphy to believe that his probation
would have been revoked if he refused to answer, then that “would
have created the classic penalty situation, the failure to assert
the privilege would be excused, and the probationer’s answers would
be deemed compelled and inadmissible in a criminal prosecution.”
Id. at 425. But in the circumstances of that case, the Court found
that the probation officer interrogating Murphy did not, “either
expressly or by implication, assert[] that invocation of the
privilege would lead to revocation of probation,” id. at 425, or
any other “impermissible penalty,” id. at 437. The Court noted
that this was true “{w]hether [it] employ[ed] a subjective or an
objective test.” Id. As to Murphy’s subjective beliefs, the Court
found that “{t]here is no direct evidence that Murphy confessed
because he feared that his probation would be revoked if he

remained silent.” Id. As to an objective view, the Court heid

 

 
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that if Murphy “did harbor a belief that his probation might be
revoked for exercising the Fifth Amendment privilege, that belief
would not have been reasonable. Our decisions have made clear
that the State could not constitutionally carry out a threat to
revoke probation for the legitimate exercise of the Fifth Amendment
privilege.” Id. at 438.3
B. Discussion

All parties agree that Austin was subject to noncustodial
questioning by Probation. As already noted, the Supreme Court and
the Second Circuit have recognized that a noncustodial probation
interview, unlike a custodial police interrogation, is not so
coercive that the right against self-incrimination is always
self-executing. And in circumstances like this case, where there
4g no evidence that the probation officer led Austin to believe
that his supervised release would be revoked if he refused to

answer questions, these courts have held that there is no “penalty”

 

3 The Supreme Court raised another potential limitation to its
holding in Murphy, noting that “[t]he result may be different if
the questions put to the probationer, however relevant to his
probationary status, call for answers that would incriminate him
in a pending or later criminal prosecution.” Id. at 435. This
potential limitation has since been modified by the Second Circuit,
as follows: “So long as the probationer has not been told that he
would lose his freedom if he invoked his Fifth Amendment privilege,
a statement is not deemed compelled merely because the probation
officer has the authority to compel the probationer's attendance
and truthful answers, or because the probation officer consciously
sought incriminating evidence.” United States v. Jennings, 652
F.3d 290, 304 (2d Cir. 2011) (citations, internal quotation marks,
and brackets omitted).

 
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in this situation that would make the privilege self-executing.
The supervisee is “free to claim the privilege” against self-
incrimination and refuse to answer questions, even if doing so
appears to violate the terms of supervised release. Jennings, 652
F.3d at 304. The Supreme Court has claimed that this point of
constitutional law is so obvious that believing otherwise “would
not [be] reasonable.” Murphy, 465 U.S. at 438; see id. at 437
(“At this point in our history virtually every schoolboy is
familiar with the concept, if not the language, of the [Fifth
Amendment].”) (internal quotation marks omitted) (alteration in
original).

Further, Austin does not argue that he invoked his right to
silence during the interview with Probation. But he does contend
that he did so in his state custody of a few days earlier. ECF
No. 75, at 1-2. (“After his arrest, Mr. Austin declined to speak
with the arresting officers, thus invoking his right to remain
silent under the Fifth Amendment.”). The Government does not
explicitly concede this point, but it also does not contest it.
See ECF No. 76, at 2. (referencing Austin’s “decision to invoke
his Miranda rights when questioned by officers in the state case”).
Therefore, the Court concludes (for present purposes only} that
Austin invoked his right to silence before the NYPD.

The question thus presented is whether Austin’s invocation of

the right to silence before the NYPD officers was binding upon

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Probation. The Government’s sole argument for why it was not
binding is that Austin was not in custody and thus had “no federal
right to have an attorney present at the meeting” with Probation.
ECF No. 76, at 2 (quoting Murphy, 465 U.S. at 424 n.3). This is
true, but it is beside the point as far as Austin’s Fifth Amendment
claim is concerned. Rather, the Government argument is essentially
unresponsive to Austin’s argument that his invocation of his right
to silence was still in force.

The Court notes that the Government might have raised several
arguments as to why Austin’s invocation was not binding upon
Probation, including that sufficient time had passed from when he

invoked his privilege with the NYPD,* that’ the Probation

 

4 Though this Court does not reach the issue, it notes that whether
enough time had passed for the coercive pressure inherent in

Austin’s NYPD detention to dissipate -- thus permitting government
agents to again approach him regarding these offenses, even though
he had previously invoked his right to silence -- is a close

question. Compare Michigan v. Mosley, 423 U.S. 96, 104 (1975) (no
constitutional violation where, upon invocation of right to
silence, questioning was immediately terminated and only resumed
on a different topic after two-hour delay and fresh Miranda
warnings) with Maryland v. Shatzer, 559 U.S. 98, 110 (2010)
(finding, where defendant invoked right to counsel and was
subsequently released from custody, that a new approach was not
permissible until after 14 days, which “provides plenty of time
for the suspect to get reacclimated to his normal life, to consult
with friends and counsel, and to shake off any residual coercive
effects of his prior custody”). On the one hand, though Austin
spoke with Probation the day after his release, that conversation
was only by phone, a far less coercive form of communication. By
the time he spoke with Probation in person, he had been at liberty
for three days. On the other hand, Probation’s questioning covered
the same alleged offense conduct as to which Austin invoked his

 

 

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interrogation was conducted by a different sovereign,® and that
the Probation interrogation was initiated by Austin when he
notified Probation of his arrest.® The Court does not reach these
issues. Instead, because the Government did not raise these
arguments, the Court finds that it has waived them.

For these reasons, the Court finds that Austin’s invocation
of his right to silence remained in force when he was interviewed
by Probation, SO his statements to Probation were

unconstitutionally obtained.

 

right to silence; moreover, in addition to whatever residual
coercive pressure remained following his detention in state
custody, the interviews were not without coercive pressures of
their own, especially given the Standard Condition requiring
Murphy to obey the officer and answer his questions.

5 Although this Court does not reach the issue, the Supreme, Court
has reasoned that when a defendant invokes the right to counsel,
the prohibition upon further interrogation applies even “when it
is conducted by a different law enforcement authority.” Shatzer,
559 U.S. at 111; see Minnick v. Mississippi, 498 U.S. 146, 148-
149 (1990) (defendant’s invocation of right to counsel in FBI
interview barred state law enforcement’s interrogation of him
without counsel two days later). Probation, however, is an arm of
the Judiciary, not the Executive, and arguably is therefore not a
law enforcement authority.

 

6 while this Court does not reach the issue, the Supreme Court
has recognized that suspects, having invoked their Fifth Amendment
rights, will sometimes waive them by voluntarily reinitiating
contact with police -- but only if they were not compelled to make
contact. See, e.g., Minnick, 498 U.S. at 156 (explaining that
courts can “find[] a waiver of Fifth Amendment protections after
counsel has been requested, provided the accused has initiated the
conversation or discussions with the authorities,” but finding no
such waiver where Minnick “was compelled to attend” the interview).

 

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Il. The Sixth Amendment Right to Assistance of Counsel

The Court's Fifth Amendment holding rests upon a finding that
Austin invoked his right to silence, but the Court recognizes the
paucity of evidence and legal authority on the issue. The Court
further recognizes that the Government, for whatever reason, chose
not to raise many arguments that might have defeated Austin’s Fifth
Amendment claim. Therefore, the Court chooses not to rest its
hoiding on the Fifth Amendment alone. It now turns to Austin's
Sixth Amendment argument.

A. egal Standard

The Sixth Amendment provides that “[ijJn all criminal
prosecutions, the accused shall . . . have the Assistance of
Counsel for his defence.” U.S. Const. amend. VI. This right
encompasses “the opportunity for a defendant to consult with an
attorney and to have him investigate the case and prepare a defense

for trial.” Kansas v. Ventris, 556 U.S. 586, 590 (2009). The

 

right also “extends to having counsel present at various pretrial
‘critical’ interactions between the defendant and the State,
including the deliberate elicitation by law enforcement officers
(and their agents) of statements pertaining to the charge.” Id.
(citation omitted}. Therefore, it violates “the basic protections
of [the Assistance of Counsel] guarantee [to] use[] against la
defendant] at his trial evidence of his own incriminating words,

which federal agents had deliberately elicited from him after he

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had been indicted and in the absence of his counsel.” Massiah v.
United States, 377 U.S. 201, 206 (1964).
B. Discussion

Neither the parties nor the Court has identified controlling
authority regarding whether a Probation interview regarding
already pending state charges violates a defendant’s Sixth
Amendment right to the assistance of counsel.

This inguiry is not controlled by Murphy and its progeny
because, after arraignment, the defendant's right to assistance of
counsel is self-executing and need not be invoked. See Michigan,
A494 U.S. at 348 (“[O]nce formal criminal proceedings begin,” the
Sixth Amendment prohibits “deliberately eliciting” statements
regarding the charged offense “froma defendant without an express
waiver of the right to counsel.”) The Government offers no
argument that the probation officer obtained “an express waiver of
the right to counsel.” Thus, when the officer interrogated Austin
regarding already pending state charges, without counsel present,
and without notification to Austin’s state counsel, that violated
his Sixth Amendment right to the assistance of counsel in the state
court proceedings.

The Government argues that a Probation interview is a special
circumstance where there is no right to counsel, citing two Second

Circuit opinions. See United States v. Rea 678 F.2d 382, 390 (2d

 

Cir. 1982) (*[The defendant] has no right to have a lawyer present

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during an interview with his probation officer.”); United States
v. Conte, 99 F.3d 60, 65 (2d Cir. 1996) (same). But these opinions
addressed whether the defendant had a right to the assistance of
counsel in connection with a potential revocation-of-supervised-
release hearing. Here, by contrast, Austin faces criminal charges
in state court. Whatever his rights in the revocation proceeding
when Probation interviewed him, Austin unquestionably had a Sixth
Amendment right to the assistance of counsel in connection with
the adversary criminal proceedings that had already begun in state
court. Therefore, these Second Circuit opinions do not control.
The Government's citation to these cases seems to suggest
that it believes there should be a dual sovereignty exception to
the Sixth Amendment. It offers no authority for that position,
and the Court finds it uncompelling. The Sixth Amendment
guarantees “the Assistance of Counsel” “{ijn all criminal
prosecutions,” and the fundamental protections of the Bill of
Rights bind the States and the Federal Government alike. When a
defendant faces criminal charges, whether state or federal, if any
government~related actor infringes the defendant’s right to
assistance of counsel, this violates the Sixth Amendment. ct.
Minnick, 498 U.S. at 148-149 (defendant's invocation of right to
counsel in FBI interview barred state law enforcement’ s
interrogation of him without counsel two days later); Shatzer, 559

U.S, at 111 (further interrogation following invocation of right

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to counsel impermissible even “when it is conducted by a different
law enforcement authority”).

Accordingly, the Court concludes that, independent of the
Fifth Amendment violation, Probation violated Austin’s Sixth
Amendment right to counsel when, without ever notifying his court-
appointed state counsel, Probation interviewed Austin about the
state charges.

Ill. Remedy
A. Legal Standard

When the Government violates the Fifth and/or Sixth Amendment
by unconstitutionally eliciting statements from a suspect, courts
must fashion an appropriate remedy. The Supreme Court has
explained that a “truly coerced” statement may not be introduced
into evidence by the Government under any circumstances, because
this would violate the “Fifth Amendment guarantee[] that no person
shall be compelled to give evidence against himself.” Kansas v.
Ventris, 556 U.S. 586, 590 {2009}, By contrast, in some
circumstances where the Government violates a suspect’s Fifth
and/or Sixth Amendment rights in a manner short of true coercion,
the statements may be admitted for impeachment purposes only, if
the trustworthiness of the evidence satisfies legal standards.

Harris v. New York, 401 U.S. 222, 224 (1971).

 

Regarding the Sixth Amendment, the Supreme Court has held

that “the constitutional violation occurs when the uncounseled

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interrogation is conducted,” and the use of a tainted statement at
trial is not itself a new constitutional violation. Id. at 592.
Therefore, analogizing to the Fourth Amendment exclusionary rule,
the Supreme Court has balanced the interests in deterring
constitutional violations against the interests in protecting the
integrity of the truth-finding process. The Supreme Court
concluded that, when the Government seeks to offer the evidence
for impeachment purposes only, “(tlhe interests safeguarded by

exclusion are outweighed by the need to prevent perjury and
to assure the integrity of the trial process.” Id. at 593. Thus,
evidence that was not “truly coerced” but was obtained in violation
of a suspect’s Sixth Amendment right to the assistance of counsel
may be admitted into evidence for impeachment purposes only. See
also Harris, 401 U.S. at 224-226 (same resuit when petitioner made
incriminating statement in custodial interrogation without Miranda
warnings). This Court assumes, without deciding, that the same
analysis applies when the Government did not “truly coerce[j” a
statement but did elicit it unconstitutionally following a prior
invocation of the suspect’s Fifth Amendment right to silence.

B. Discussion

Because the Court concludes that Austin’s statements to
Probation were obtained in violation of the Fifth and Sixth
Amendments, those statements (and the probation officers’ notes

and/or reports containing the same) may not be used in the

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Government’s case-in-chief. The Government argues that it should
nevertheless be provided with access to these statements so that
it can use them on rebuttal. The Government has a point. Austin
has not argued that his statements were “truly coerced.”
Therefore, were these notes already in the Government’s
possession, under Ventris and Harris, they would likely be
admissible for impeachment purposes only.

However, the question before the Court is not one of
admissibility but one of discretion. The Government seeks an order
under the All Writs Act @irecting Probation to turn over evidence
to the Government. In determining whether to issue an order under
the All Writs Act, this Court has wide latitude. Because the Court
concludes that the evidence was obtained in violation of Austin’s
constitutional rights, the Court declines to compound that
violation by permitting these notes to be turned over to the
Government.

In Ventris and Harris, weighing perjury against condoning
tainted evidence, the Supreme Court chose what is saw as the lesser
evil. But here, the constitutional calculus is different.
Probation is not a litigant or an advocate; it is an arm of the
Judicial Branch. Were this Court to condone -- indeed, order --
the use of evidence unconstitutionally obtained by an officer who
reports to this Court, that would call into question the integrity

of the judicial process more acutely than merely permitting the

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Government to introduce tainted evidence aiready in its
possession. This the Court declines to do.
IV. Recommendation to Probation

Because, as noted, Probation is an arm of the Judicial Branch,
the Court makes one additional recommendation.’ The Supreme Court
has made clear that “the State could not constitutionally carry
out a threat to revoke probation for the legitimate exercise of
the Fifth Amendment privilege.” Murphy, 465 U.S. at 438. ‘Thus,
for instance, when this Court ordered Austin to “answer truthfully
all inquiries by the probation officer and follow the instructions
of the probation officer,” ECF No. 19, at 3, No. 3, that command
contained an implicit carveout for his exercise of his Fifth
Amendment rights, if he so chose.

Similarly, the United States Sentencing Commission,
discussing the Standard Conditions of supervised release, has
explained that although one of the Standard Conditions “requires
the defendant to ‘answer truthfully’ the questions asked by the
probation officer, a defendant's legitimate invocation of the
Fifth Amendment privilege against self-incrimination in response

to a probation officer’s question shall not be considered a

 

?7 fhe Court also wants to make clear that, although it finds that
a probation officer violated Austin’s constitutional rights, the
Court also finds, based on all available evidence, that the officer
acted in good faith. These are novel, nuanced questions of
constitutional law.

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violation of this condition.” United States Sentencing Guidelines
§ 5Di.3, Application Note 1 (2018). The Supreme Court has opined
that reasonable supervisees are already aware of this principle.’
In the interest of transparency, the Court believes that the better
course would be not to presume such knowledge but rather to clearly
incorporate supervisees’ constitutional rights within the Standard
Conditions. To that end, the Court recommends that the underlined
text be added to what is now Standard Condition number 4: “You
must answer truthfully the questions asked by your probation

officer, except that you may, if you choose, refuse to answer

 

questions that would reveal incriminating information about you,

 

and if you have been criminally charged, you have a right to have

 

an attorney present when you answer questions about those charges.”

 

* * *

For the foregoing reasons, as the Court stated in its
bottom-line order of September 30, 2020, the Government’s
application is denied.

SO ORDERED.

 

Dated: New York, NY

October 29, 2020 si

 

 

® Murphy, 465 U.S. at 438 (“[A] belief that his probation might be
revoked for exercising the Fifth Amendment privilege . . . would
not have been reasonable.”).

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